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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA1 1a i'i ~ R I
                               TAMPA DIVISION              ti     6 P/1


CARLOS RAMOS,
                                                     Case No. 8:18-cv-421-T-17
                    Plaintiff,
               V.                                    AEP

S WEETFROG ENTERPRISES, LLC and
BOXWOOD PARTNERS, LLC

                    Defendants.


                                 NOTICE OF DISMISSAL

      Pursuant to Rule 41(a)(l)(A)(i) of the Federal Rules of Civil Procedure, the

plaintiff hereby voluntarily dismisses this action with prejudice. The defendants have

not been served and have not served an answer or a motion for summary judgment.

                                        Respectfully submitted,




                                        Carlos Ramos
                                        6168 Layton Avenue
                                        Spring Hill, Florida 34608
                                        charlie.ramos@gmail.com
March    /   5, 2018




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